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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION


UNITED STATES OF AMERICA,

           Plaintiff,

v.                                        Case No. 2:05-cr-14-02

KATHERINE ANN OHMAN, a/k/a                HON. DAVID W. McKEAGUE
Katherine Ann Farrell,

           Defendant.
                                /


                          REPORT AND RECOMMENDATION


           Pursuant to W.D. Mich. LCrR 11.1, I conducted a plea

hearing in this case on April 12, 2005.            At the hearing, defendant

entered a plea of guilty to the Indictment, charging Maintaining

Drug Involved Premises, in exchange for the undertakings made by

the government in the written plea agreement.             On the basis of the

record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is

made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any

force, threats, or promises, apart from the promises in the plea

agreement; that the defendant understands the nature of the charge

and penalties provided by law; and that the plea has a sufficient

basis in fact.

           I therefore recommend that defendant's plea of guilty to

the Indictment be accepted, that the Court adjudicate defendant
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guilty of the charges set forth in the Indictment, and that the

written plea agreement be accepted at the time of sentencing.                     It

is   further   recommended    that   the     order    setting    conditions       of

defendant’s     release    remain     in     effect     pending        sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the

plea   agreement,   determination       of    defendant’s       status     pending

sentencing, and imposition of sentence are specifically reserved

for the district judge.



                                      /s/ Timothy P. Greeley
                                     TIMOTHY P. GREELEY
                                     UNITED STATES MAGISTRATE JUDGE

Dated: April 29, 2005



                             NOTICE TO PARTIES


          You have the right to de novo review of the foregoing
findings by the district judge. Any application for review must be
in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than
ten days after the plea hearing.       Failure to file objections
within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See W.D. Mich. LCrR
11.1.
